Case 3:23-cr-00079-DJN Document 6 Filed 06/22/23 Page 1 of 2 PagelD# 13

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IN THE UNITED STATES DISTRICT COURT FOR THE
EASTERN DISTRICT OF VIRGINIA
RICHMOND DIVISION JUN 22 2028
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UNITED STATES OF AMERICA Case No. 3:23CR0 [9 ~ =

18 U.S.C. §§ 922(g)(1) and 924(a)(2)
Possession of Ammunition by Convicted Felon
v. (Count 1)

26 U.S.C. §§ 5841, 5845, 5861(c)-(d), (D
Possession of a Destructive Device

XAVIER LOPEZ, (Count 2)
Defendant. Forfeiture Allegation
INDICTMENT

June 2023 Term — At Richmond, Virginia

THE GRAND JURY CHARGES THAT:

COUNT ONE
(Possession of Ammunition by Convicted Felon)

On or about November 13, 2022, in the Eastern District of Virginia, the defendant, Xavier
LOPEZ, knowing that he had been convicted of a crime punishable by imprisonment for a term
exceeding one year in the Circuit Court for Chesterfield County on or about January 7, 2021, did
knowingly possess ammunition, that is, (25) rounds of 9mm caliber and (1) round of 7.62x39
caliber ammunition, said ammunition having been shipped and transported in interstate and

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foreign commerce.

(In violation of Title 18, United States Code, Sections 922(g)(1) and 924(a)(2)).

COUNT TWO
(Possession of Destructive Device)

On or about November 13, 2022, in the Eastern District of Virginia, the defendant, Xavier

LOPEZ, knowingly possessed a destructive device, to wit, eight “Molotov cocktails” and any

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Case 3:23-cr-00079-DJN Document 6 Filed 06/22/23 Page 2 of 2 PagelD# 14

combination of parts designed and intended for use in converting any device into a Molotov
cocktail, not registered to him in the National Firearms Registration and Transfer Record. AG

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(In violation of Title #, United States Code, Sections §§ 5841, 5845, 5861(c)-(d), and (f)).

FORFEITURE ALLEGATION
Pursuant to Rule 32.2 of the Federal Rules of Criminal Procedure, the defendant is notified
that if convicted of either of the offenses charged in this Indictment, he shall forfeit any firearms
or ammunition involved in or used in the offense charged. Property subject to forfeiture includes,
but is not limited to, the following:

(25) rounds of Hornady 9mm caliber ammunition and (1) round of Barnaul
Cartridge Works 7.62x39 caliber ammunition.

If any property that is subject to forfeiture above is not available, it is the intention of the
United States to seek an order forfeiting substitute assets pursuant to Title 21, United States Code,
Section 853(p) and Federal Rule of Criminal Procedure 32.2(e).

(All in accordance with Title 18, United States Code, Section 924(d), Title 26 United
States Code Section 5872 and Title 28, United States Code, Section 2461(c)).

. Pursuant to the E-Government
A TRUE BILL: the criginal of this page has boee filed
under seal in the Clerk's Office

FOREPERSON CC)

JESSICA D. ABER
UNITED STATES ATTORNEY

By: Tee k Oh
Thomas A. Garnett |/ (
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Assistant United States Attorney

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Peter S. Duffey ll {)
Assistant United States Attorney

